
29 N.Y.2d 666 (1971)
Florence I. La Rocco, as Administratrix of The Estate of Pasquale J. La Rocco, Also Known as Patrick J. La Rocco, Deceased, Respondent,
v.
Penn Central Transportation Company, Appellant.
Court of Appeals of the State of New York.
Submitted September 13, 1971.
Decided September 23, 1971.
Motion to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended to read as follows: Order modified and a new trial limited to the issue of liability granted, with costs to abide the event, in a memorandum. *667 The verdict as to damages, $115,000, is held in abeyance pending the new trial with prejudgment interest, if liability found, to be computed as of such time. [See 29 N Y 2d 528.]
